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I’m Sc 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-l’risoncr)




                                        United States District Court
                                                                             lor the


                                                               Eastern District of Virginia

                                                                      Norfolk Division




                                                                                       Case No.

                                                                                 )                      //o hejUledin by the Clerk's Office)
                       DONALD J. LOWE                                            )
                                                                                 )
                               Plainli/Jls)
                                                                                 )
(Write the full name of each plaintiff who is ifling this complaint.
// the names of all the plaintiffs cannot ft in the space above,                 )     Jury Trial: (check one)    ^ Yes        □ No
please write ".see attached" in the space and attach an additional               )
page with the full list of names.)                                               )
                                  -V-
                                                                                 )
                                                                                 )
                                                                                 )
                     CARLOS DEL TORO,                                            )
                         Secretary,                                              )
                 U.S. Department of the Navy                                     )
                             Defendant(s)                                        )
(Write the full name of each defendant who is being sued. If the                 )
names of all the defendants cannot ft in the space above, please
write "see attached " in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

                                                            (Non-Prisoner Complaint)


                                                                           NOTICE


    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individuafs full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include onl,y the last four digits of a social security number; the year of an individuafs
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




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Pro Se 15 (Rev. 12/16) Complaint for Violation ofCivil Rights (Non-Prisoner)


I.        The Parties to This Complaint

          A.         The Plaintiff(s)


                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                           Name                                         Donald J. Lowe
                           Address                                      1011 Copper Stone Cir

                                                                        Chesapeake                      VA                 23320
                                                                                     Citv              Stale              Zip Code

                           County                                       United States

                           Telephone Number                             (757) 450-8724
                           E-Mail Address                               donald.j.lowe(^gmail.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person’s job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1

                           Name                                         Carlos Del Toro

                           Job or Title (ifknown)                       Secretary of the Department of the Navy
                           Address                                      1000 Navy Pentagon, Room 4D652
                                                                        Washington                     D.C.               20350
                                                                                     Citv              State              Zip Code

                           County                                       United States

                           Telephone Number
                           E-Mail Address (ifknown)

                                                                        r~l Individual capacity    Kl Official capacity

                     Defendant No. 2

                           Name

                           Job or Title (ifknown)
                           Address


                                                                                     Citv              State              Zip Code

                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                        n Individual capacity      O Official capacity


                                                                                                                                     Page 2 of 7
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                     Defendant No. 3

                           Name

                           Job or Title (ifknown)
                           Address


                                                                                   C/7v                State              Zip Code

                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                        I I Individual capacity   Q Official capacity

                     Defendant No. 4

                           Name

                           Job or Title (ifknown)
                           Address



                                                                                   Cirs’               State              Zip Code

                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                        I I Individual capacity   I I Official capacity

II.       Basis for Jurisdiction


          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):

                     ^ Federal officials (a Bivens claim)

                     I I State or local officials (a           1983 claim)

          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




          C.        Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                    are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                    officials?



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                      The Equal Protection Clause of the 14''' Amendment and the Due Process Clause of the 5"' Amendment
                      prohibit the federal government from discriminating against individuals based on certain characteristics
                      to include genetic information, disability, and religion. 1 waas discriminated against based on my
                      genetic information, disability, and religion.

          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.




III.     Statement of Claim


         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.          Where did the events giving rise to your claim{s) occur?
                      Commander, Navy Reserve Forces Command
                       1915 FoiTestal Drive
                      Norfolk, VA 23551-4615



         B.          What date and approximate time did the events giving rise to your claim(s) occur?
                      From August 2021 through March 2023




         C.           What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)




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                      When the COVID shots became mandatory for uniformed personnel, I explained my position (they
                      were unlawfully mandated) to my supervisor and submitted multiple IG and OSC complaints. My chain
                      of command began scheming to get me out of my position as the Director of Policy for Manpower and
                      Pay at Commander, Navy Reserve Fores Command.

                      Later, the shots were mandated for Civilian employees (including me) and 1 submitted religious and
                      medical requests for reasonable accommodation. 1 never received a reasonable accommodation for the
                      shots in the form of an exemption. I was threatened with disciplinary action up to and including
                      removal from federal service. I was labeled "not fully vaccinated" and then it was mandated that I
                      participate in EUA nasal swab testing prior to entering my place of work. My "vaccine status" was
                      requested multiple times and 1 was asked to review and attest to my subordinates "vaccine status." I
                      refused the testing and I refused to divulge my vaccine status. I explained my position - that the shots
                      were genetic products and requesting my vaccine status was a violation of GINA - multiple times to my
                      supervisor and anyone who would listen. I was labeled "unprofessional" for explaining my stance at a
                      morning meeting, and 1 was barred from entry to my place of work. My position was demoted in status
                      (not pay) and my belongings were cleared from my desk and packed into boxes while I was barred from
                      entering my place of work.

                      My subordinate (Ms. Kim Moreno) was witness to the administrative actions taken against me by my
                      supervisor (Mr. Tom Trotter) and his supervisor (Captain Andrew Wood). The Personnel department
                      submitted a false org chart in response to my formal complaints. False reasoning was given for
                      degrading the status of my position. RADM John Schommer created a policy which denied me entry
                      into the building.

IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
          - Severe emotional distress
          - Inability to continue my federal service career (over ten years accrued currently) due to hostile work
          environment




V.       Relief


         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.


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          - $200,000 for wanton discrimination shaming and intentional infliction of emotional distress.

          - 15-year FERS deferred retirement. I had full intention of completing 20 years of federal service with the option
          of “buying back” my military service at the end of 20 years. 1 started my federal service as a GS-13 at the age of
          34 and planned on a twenty-year career working out perfectly with the available retirement options. My father
          and I both joined the Air Force at a young age (I was 17 when I in-processed at the Air Force Academy), we
          were both veterans of foreign wars {I spent a year in Kabul as the Chief of Transportation for FMS cargo), and
          we were both working on our FERS retirements. My father is scheduled to retire from federal service in January
          of 2025, but I was forced out of my government position due to discrimination and a hostile work environment. I
          am happier at my new Job, but regret not being able to complete my career as a civil servant.

          - Remove any requirements to get mRNA injections as a federal employee. Remove all policies regarding
          mRNA injections. Remove all databases containing genetic information on federal employees (especially those
          tracking COVID shot status).




VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties Without an Attorney

                      1 agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Date of signing:                 22 November 2024



                      Signature of Plaintiff
                      Printed Name of Plaintiff                Donald J. Cowe


         B.           For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number

                      Name of Law Firm


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                     Address


                                                                              Cit\-   State   Zip Code

                     Telephone Number
                     E-mail Address




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